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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                   PLAINTIFF,
 v.
                                                      Case No. 1:21-mj-216
 ADAM HONEYCUTT                                       Mag. Judge: Zia M. Faruqui



                     DEFENDANT.
                                         /

                            NOTICE OF APPEARANCE

      The undersigned counsel, L. Lee Lockett, files this Notice of Appearance in the

above referenced case to appear as counsel for ADAM HONEY CUTT, in the United

States District Court, the District of Columbia.

                                               L. LEE LOCKETT



                                               /s/ L. Lee Lockett
                                               L. LEE LOCKETT
                                               Florida Bar No.: 0128120
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      I hereby certify that on February 25th, 2021 I electronically filed the foregoing

with the Clerk of Court by email dcd_cmecf_cr@dcd.uscourts.gov. I also certify that

the foregoing document is being served this day on all counsel of record or pro se

parties identified on the attached service list in the manner specified, either via

transmission of Notices of Electronic Filing generated by CM/ECF or in some other

authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic filing.



      Dated: February 25, 2021           /s/ L. Lee Lockett
                                         L. Lee Lockett
                                         Counsel for Defendant
